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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             WACO DIVISION


                                     )
WSOU INVESTMENTS, LLC d/b/a BRAZOS   )   Case No. 6:20-cv-00580-ADA
LICENSING & DEVELOPMENT,             )   Case No. 6:20-cv-00585-ADA
                                     )
     Plaintiff,                      )   JURY TRIAL DEMANDED
                                     )
     v.                              )   PUBLIC VERSION
                                     )
GOOGLE LLC,                          )
                                     )
     Defendant.                      )
                                     )




              PLAINTIFF BRAZOS LICENSING & DEVELOPMENT’S
                    MOTION FOR SUMMARY JUDGMENT
              CONCERNING GOOGLE’S AFFIRMATIVE DEFENSES
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I.     INTRODUCTION

       Despite having had ample opportunity to do so, Defendant Google never filed an answer

or pleaded a single affirmative defense in either the 580 Case or 585 Case. The Court’s deadline

to amend pleadings passed almost two years ago. Nor did Google ever serve a substantive response

to Plaintiff’s Brazos’s interrogatory directed to the bases for Google’s affirmative defenses, before

fact discovery closed in these cases this past March.

       Because Google has neither pleaded any affirmative defenses nor identified the facts on

which it intends to rely in support of such potential defenses when Brazos was still able to pursue

fulsome discovery of those facts, Brazos is entitled to summary judgment concerning any

affirmative defenses that Google reasonably could have raised.

II.    STATEMENT OF UNDISPUTED FACTS

       1.      Brazos filed its complaints in these actions June 29, 2020. See 580 Case ECF No. 1;

585 Case ECF No. 1.

       2.      In response to Brazos’s complaints, Google filed Rule 12 motions to dismiss. See

580 Case ECF No. 18; 585 Case ECF No. 18.

       3.      The November 5, 2020 Scheduling Order originally entered by the Court in these

cases (and the first amended version thereof entered shortly thereafter) provided that the deadline

to amend pleadings was July 16, 2021. See 580 Case ECF Nos. 30, 33; 585 Case ECF Nos. 30, 33.

       4.      Following the Court’s August 2022 grant of Brazos’s motion for leave to serve

amended infringement contentions, the parties jointly moved to enter an amended scheduling

order, in connection with which neither party requested, nor did the Court ultimately order, a

revised deadline to amend pleadings. See 580 Case ECF No. 131; 585 Case ECF No. 125.




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       5.      At no point since Google filed its motions to dismiss has Google filed an answer or

otherwise pleaded affirmative defenses in either litigation. See generally 580 Case Docket; 585

Case Docket.

       6.      In both the 580 Case and the 585 Case Brazos served its Interrogatory No. 12 calling

for Google to “[d]escribe in detail the complete legal and factual basis for each defense plead [sic]

in Google’s answer.” Ex. A at 5.

       7.      In response to Brazos’s Interrogatory No. 12 in each case, on October 15, 2021,

Google objected, “Google filed a motion to dismiss this action . . . [that] remains pending before

the Court. Google has accordingly not yet filed its answer or any affirmative defenses in this action.

Google reserves all rights to supplement and amend its response to this interrogatory if and when

it files any answer or affirmative defenses.” Ex. B at 10 (580 Case); Ex. C at 10 (585 Case).

       8.      Close of fact discovery under the amended scheduling order was set for March 1,

which the parties subsequently extended by agreement to approximately March 22. See 580 Case

ECF Nos. 131, 153; 585 Case No. 125, 148.

       9.      Google did not further supplement its responses to Interrogatory No. 12 before the

close of fact discovery.

III.   LEGAL STANDARDS

       Under Federal Rule of Civil Procedure 56, a motion for summary judgment shall be granted

when the record demonstrates that there is no genuine dispute as to any material fact and that the

moving party is entitled to judgment as a matter of law. F.R.C.P. 56(a); Celotex Corp. v. Catrett,

477 U.S. 317, 323-25 (1986); Ragas v. Tenn. Gas Pipeline Co., 136 F.3d 455, 458 (5th Cir. 1998).

“Only disputes over facts that might affect the outcome of the suit under the governing laws will

properly preclude the entry of summary judgment.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

248 (1986). Once the moving party has successfully carried its burden of proof, then the non-
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moving party is required to “come forward with specific facts showing that there is a genuine issue

for trial.” Matsushita Elec. Indus. Co., Ltd v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). To

rebut a summary judgment motion, the non-moving party has to “do more than simply show that

there is some metaphysical doubt as to the material facts.” Id. at 594

        Federal Rule 12 provides that “[a] defendant must serve an answer . . . within 21 days after

being served with the summons and complaint,” except that “serving a motion under this rule

alters” the defendant’s deadline to serve an answer until 14 days after the Court’s denial of that

motion—“[u]nless the court sets a different time.” Fed. R. Civ. P. 12(a)(1)(A)(i); Fed. R. Civ. P.

12(a)(4)(A) (emphasis added).

        As to litigation deadlines that are the subject of a court’s scheduling order, under Federal

Rule 16(b)(4), a scheduling order “may be modified only for good cause and with the judge’s

consent.” See Squyres v. Heico Cos., L.L.C., 782 F.3d 224, 237 (5th Cir. 2015); IDB Ventures,

LLC v. Charlotte Russe Holdings, Inc., 360 F. Supp. 3d 541, 548 (E.D. Tex. 2018) (Bryson, J.,

sitting by designation).

IV.     ARGUMENT

        Google has not pleaded or otherwise identified any affirmative defenses that Google

intends to assert in the 580 Case or 585 Case. Statement of Undisputed Facts supra ¶¶ 2, 7. The

Court set the parties’ deadline to amend their pleadings nearly two years ago, in July 2021. Id. ¶ 3.

Google has never sought relief from this deadline, even when given a subsequent opportunity to

do so. Id. ¶¶ 4-5.

        Google has not identified “the legal and factual basis” that it alleges may support any

potential affirmative defenses in connection with either the 580 Case or 585 Case. Id. ¶¶ 7, 9. Fact

discovery in these cases closed approximately three months ago, and at no point before that



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deadline did Google put Brazos on notice of any facts on which Google intended to rely, so as to

allow Brazos to test those facts in discovery. Id. ¶ 8-9.

        Accordingly, as Google has identified neither any pertinent affirmative defenses, nor even

a single fact that Google contends might support such defenses, Brazos is entitled to summary

judgment precluding Google from raising any affirmative defenses1 at trial. See, e.g., Matsushita,

475 U.S. at 587.

V.      CONCLUSION

        For the foregoing reasons, the Court should grant Brazos’s motion for summary judgment,

and preclude Google from asserting any affirmative defenses in either the 580 Case or the 585

Case.



     Dated: June 28, 2023                             Respectfully submitted,


                                                      /s/ Joseph M. Abraham
                                                      Joseph M. Abraham, TX SB No. 24088879
                                                      Timothy Dewberry, TX Bar No. 24090074
                                                      FOLIO LAW GROUP PLLC
                                                      13492 Research Blvd., Suite 120, No. 177
                                                      Austin, TX 78750
                                                      Tel: 737-234-0201
                                                      Email: joseph.abraham@foliolaw.com
                                                              timothy.dewberry@foliolaw.com

                                                      Cliff Win, CA Bar No. 270517
                                                      Alexandra Fellowes, CA Bar. No. 261929
                                                      C. Maclain Wells, CA Bar No. 221609
                                                      Alden K. Lee, CA Bar No. 257973
                                                      Moses Xie, CA Bar No. 343007
                                                      Aaron Weisman, WA Bar No. 56724


1
  Notwithstanding the lack of a formal pleading, Google’s invalidity contentions and expert report
have put Brazos sufficiently on notice of Google’s positions concerning Google’s affirmative
defense of invalidity. Brazos does not contend that this motion should preclude Google from
raising its invalidity defense, merely any other affirmative defenses.
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                                  FOLIO LAW GROUP PLLC
                                  1200 Westlake Ave. N., Ste. 809
                                  Seattle, WA 98109
                                  Tel: (206) 880-1802
                                  Email: cliff.win@foliolaw.com
                                          alexandra.fellowes@foliolaw.com
                                          maclain@foliolaw.com
                                          alden.lee@foliolaw.com
                                          moses.xie@foliolaw.com
                                          aaron.weisman@foliolaw.com

                                  Gregory P. Love
                                  State Bar No. 24013060
                                  Mark D. Siegmund
                                  State Bar No. 24117055
                                  Melissa S. Ruiz
                                  State Bar No. 24128097
                                  CHERRY JOHNSON SIEGMUND JAMES
                                  400 Austin Ave., Ste. 9th Floor
                                  Waco, TX 76701
                                  Tel: 254-732-2242
                                  Email: glove@cjsjlaw.com
                                  msiegmund@cjsjlaw.com
                                  mruiz@cjsjlaw.com


                                  Attorneys for Plaintiff WSOU Investments,
                                  LLC d/b/a Brazos Licensing & Development




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 28th day of June, 2023, I electronically filed the foregoing with

the Clerk of Court using the CM/ECF system and served a copy via email to all counsel of record.

                                                                     /s/ Joseph M. Abraham
                                                                     Joseph M. Abraham




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